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                 IN THE UNITED STATES DISTRICT COURT
               FORTH THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

CAROLS MUNOZ; and ALICIA PEREZ,                      )
Individually and as Mother and Next Friend of        )
ALAIA MUNOZ, a Minor,                                )
                                                     )
                      Plaintiff,                     )
               vs.                                   )       No.:   20-cv-2344
                                                     )
JOVON SANDERS, Individually and as Servant           )
and Agent of TIRE WHOLESALERS                        )       Circuit Court of Cook
COMPANY, and TIRE WHOLESALERS                        )       County, Illinois
COMPANY,                                             )       Case No. 2020 L 002810
                                                     )
               Defendants.                           )


                               NOTICE OF REMOVAL

    Defendants JOVON SANDERS, individually and as Servant and Agent of Tire

Wholesalers Company and TIRE WHOLESALERS COMPANY, by and through their

attorneys Foley & Mansfield, PLLP, hereby respectfully submit this Notice of Removal

of this action from the Circuit Court of Cook County, Illinois to the United States District

Court for the Northern District of Illinois. In support of this Notice of Removal,

Defendants state as follows:

         1.    This action was commenced against Jovon Sanders, Individually and as

Servant and Agent of Tire Wholesalers Company and against Tire Wholesalers Company

in the Circuit Court of Cook County, Illinois, on March 9, 2020. A copy of the complaint

was mailed to Jovon Sanders on March 16, 2020. Neither defendant has been properly

served with a copy of the complaint and defendants do not by filing this Notice of

Removal waive any objections or defenses they may have to improper service of process.



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This notice is filed within 30 days after the complaint was mailed to defendant Jovon

Sanders.

         2.    At the time the action was commenced and since then, the Plaintiffs were

and are citizens of the County of Cook, State of Illinois. Defendant Jovon Sanders was

and is a citizen of the County of Lake, State of Indiana. Tire Wholesalers Company was

and is a corporation organized and existing under the laws of the State of Michigan with

its principal place of business in Troy, Michigan.

         3.    The amount in controversy exceeds $75,000, exclusive of interest and

costs, as appears from the Plaintiffs’ complaint, a copy of which is attached hereto as

Exhibit A. A copy of the Summons mailed to Jovon Sanders is attached hereto as Exhibit

B. This action is a civil one in which the United States District Courts have original

jurisdiction under 28 U.S.C. §1332.

         4.    The defendant attaches to this notice copies of all process, pleadings, and

orders that have been served on it.


    WHEREFORE, Defendants JOVON SANDERS, individually and as Servant and

Agent of Tire Wholesalers Company and TIRE WHOLESALERS COMPANY pray that

this cause be removed to the United States District Court for the Northern District of

Illinois.

                                             Respectfully Submitted,

                                             JOVON SANDERS, INDIVIDUALLY
                                             AND   AS   AGENT   OF  TIRE
                                             WHOLESALERS COMPANY, AND
                                             TIRE WHOLESALERS COMPANY,




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                                       /s/Stephen R. Vedova
                                      One of their Attorneys

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                            CERTIFICATE OF SERVICE

I hereby certify that I electronically filed the foregoing document with the Clerk of the
Court using the CM/ECF system which will send notification of such filing to all
registered attorneys of record. I further certify that I will cause a copy of the foregoing
document to be served upon the following counsel of record, postage prepaid, on the 16th
day of April, 2020:


Lindsey A. Seeskin
The Horwitz Law Group
20 N. Clark Street, Suite 3300
Chicago, IL 60602
(312) 641-9200
                                                  __/s/ Stephen R. Vedova_____




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